        Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 1 of 30



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
______________________________________________x
FEDERAL TRADE COMMISSION and THE                Case No. 1:17-cv-00124(LLS)
PEOPLE OF THE STATE OF NEW YORK, by
ERIC T. SCHNEIDERMAN. Attorney General
Of the State of New York,

                       Plaintiffs,

               -against-

QUINCY BIOSCIENCE HOLDING COMPANY, INC.,
a corporation; QUINCY BIOSCIENCE, LLC,
a limited liability company; PREVAGEN, INC.,
a corporation d/b/a SUGAR RIVER SUPPLEMENTS;
QUINCY BIOSCIENCE MANUFACTURING, LLC,
a limited liability company; MARK UNDERWOOD,
Individually; MARK UNDERWOOD as an officer
of Quincy Bioscience Holding Company, Inc.,
Quincy Bioscience, LLC, and Prevagen, Inc.; MICHAEL
BEAMAN, Individually; MICHAEL BEAMAN as
an officer of Quincy Bioscience Holding Company, Inc.,
Quincy Bioscience, LLC, and Prevagen, Inc.;

                      Defendants.
______________________________________________x


     SUPPLEMENTAL MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
    DISMISS BY DEFENDANTS MARK UNDERWOOD AND MICHAEL BEAMAN
              PURSUANT TO FED. R. CIV. P. 12(b)(2) AND 12(b)(6)
                 Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 2 of 30




                                                      TABLE OF CONTENTS
                                                                                                                                           Page

ARGUMENT .................................................................................................................................. 3

I.     The Complaint Fails to State a Claim Against the Individual Defendants ............................. 3

II.    The Individual Defendants are not Subject to Personal Jurisdiction in New York ................ 4

       1.        The Individual Defendants Are Not Subject To General Personal Jurisdiction
                 In New York ................................................................................................................... 5

       2.        The Individual Defendants Are Not Subject To Specific Personal Jurisdiction
                 In New York ................................................................................................................... 6

       3.        The Individual Defendants Have Not Waived Their Personal Jurisdiction
                 Argument ...................................................................................................................... 11

       4.        The FTC Act Does Not Confer Nationwide Personal Jurisdiction ............................... 12

            a.       Section 13(b) of the FTC Act Does Not Confer Nationwide Personal
                     Jurisdiction Over the Individual Defendants ........................................................... 13

            b.       The Second Circuit’s Decisions in Goldlawr and Daniel Support the Proper
                     Interpretation of Section 13(b) of the FTC Act ....................................................... 16

            c.       Other Cases Outside This District Interpreting Section 13(b) are not
                     Persuasive Following Daniel ................................................................................... 18

            d.       The Other Statutes Plaintiffs Cite Do Not Mandate Their Reading of
                     Section 13(b) ............................................................................................................ 21

CONCLUSION ............................................................................................................................. 23




                                                                          i
             Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 3 of 30




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

A.W.L.I. Group, Inc. v. Amber Freight Shipping Lines,
   828 F. Supp. 2d 557 (E.D.N.Y. 2011) .......................................................................................7

Adamou v. Cnty. of Spotsylvania, Virginia,
   2016 WL 1064608 (S.D.N.Y. Mar. 14, 2016) ...........................................................................8

Aquiline Capital Partners LLC v. FinArch LLC,
   861 F. Supp. 2d 378 (S.D.N.Y. 2012)....................................................................................4, 7

Arma v. Buyseasons, Inc.,
   591 F. Supp. 2d 637 (S.D.N.Y. 2008)......................................................................................10

Big Apple Pyrotechnics & Multimedia Inc. v. Sparktacular Inc.,
   2007 WL 747807 (S.D.N.Y. Mar. 6, 2007) ...............................................................................6

BNSF RR. Co. v. Tyrrell,
  137 S. Ct. 1549 (2017) .............................................................................................................21

Chevron U. S. A. Inc. v. Natural Resources Defense Council, Inc.,
   467 U. S. 837 (1984) ................................................................................................................12

Daimler AG v. Bauman,
   134 S. Ct. 746 (2014) ...........................................................................................................2, 20

Daniel v. Am. Bd. Of Emergency Med.,
   428 F.3d 408 (2d Cir. 2005)............................................................................................. passim

Deitrick v. Gypsy Guitar Corp.,
   2016 WL 7494881 (S.D.N.Y. Dec. 28, 2016) ...........................................................................8

Doe v. Nat’l Conference of Bar Examiners,
   2017 WL 74715 (E.D.N.Y. Jan. 6, 2017) ..................................................................................6

Federal Trade Comm’n v. Alternatel, Inc.,
   No. 08-cv-21433 (AJ), 2006 WL 3106448 (S.D. Fla. Oct. 27, 2008) .....................................19

Federal Trade Comm’n v. Bay Area Bus. Council, Inc.,
   No. 02-cv-5762, 2003 WL 21003711 (N.D. Ill. May 1, 2003)................................................19

Federal Trade Comm’n v. Cleverlink Trading Ltd.,
   No. 05-cv-2889, 2006 WL 1735276 (N.D. Ill. June 19, 2006)................................................19
                                                                    ii
             Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 4 of 30



Federal Trade Comm’n v. Construct Data Publishers, A.S.,
   No. 13-cv-01999, 2014 WL 7004999 (N.D. Ill. Dec. 11, 2014)..............................................18

Federal Trade Comm’n v. Mallett,
   818 F. Supp. 2d 142 (D.D.C. 2011) .........................................................................................19

Federal Trade Comm’n v. Navestad,
   No. 09-cv-6329T, 2010 WL 743899 (W.D.N.Y. Feb. 25, 2010) ............................................18

Federal Trade Comm’n v. Seismic Entm’t Prods.,
   No. 04-cv-377 (JD), 2005 WL 2319944 (D.N.H. Sept. 22, 2005) ..........................................19

FTC v. Ams. For Fin. Reform,
  720 F. App’x 380 (9th Cir. 2017) ............................................................................................19

FTC v. Consumer Def., LLC,
  2018 WL 2741039 (D. Nev. June 6, 2018) ..............................................................................20

FTC v. Moses,
  913 F.3d 297 (2d Cir. 2019).......................................................................................................3

Goldlawr, Inc. v. Heiman,
   288 F.2d 579 (2d Cir. 1961)...........................................................................................1, 16, 18

Goodyear Dunlop Tires Operations, S.A. v. Brown,
   564 U.S. 915 (2011) .................................................................................................................20

Gordon v. Invisible Children, Inc.,
   No. 14-cv-4122 (PGG), 2015 WL 5671919 (S.D.N.Y. Sept. 24, 2015)..................................11

Grow Group, Inc. v. Jandernoa,
   1996 WL 31848 (S.D.N.Y. Jan. 26, 1996) ................................................................................5

Gucci Am. v. Bank of China,
   768 F.3d 122 (2d Cir. 2014).....................................................................................................13

Hill v. HSBC Bank,
    2016 WL 4926199 (S.D.N.Y. Sept. 15, 2016)...........................................................................7

ICO Servs., Ltd. v. Coinme, Inc.,
   2018 WL 6605854 (S.D.N.Y. Dec. 17, 2018) ...........................................................................7

J. McIntyre Machinery, Ltd. v. Nicastro,
    564 U.S. 873 (2011) .................................................................................................................20

J.E.M. AG Supply, Inc. v. Pioneer Hi-Bred Int’l, Inc.,
    534 U.S. 124 (2001) (Scalia, J., concurring) ...........................................................................14



                                                                   iii
             Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 5 of 30



Jazini v. Nissan Motor Co., Ltd.,
    148 F.3d 181 (2d Cir. 1998).......................................................................................................4

Karabu Corp. v. Gitner,
   16 F. Supp. 2d 319 (S.D.N.Y. 1998)........................................................................................10

Keeton v. Hustler Magazine, Inc.,
   465 U.S. 770 (1984) ...................................................................................................................4

In re Korean Air Lines Co., Ltd.,
    642 F.3d 685 (9th Cir. 2011) ...................................................................................................12

Kreutter v. McFadden Oil Corp.,
   71 N.Y.2d 460 (1988) ................................................................................................................9

La Belle Creole Int’l, S. A. v. Attorney-Gen.,
   10 N.Y.2d 192 (1961) ............................................................................................................8, 9

Mao v. Sands Bethworks Gaming LLC,
  2016 WL 1717220 (S.D.N.Y. Apr. 28, 2016)............................................................................7

Mazloum v. Int’l Commerce Corp.,
  829 F. Supp. 2d 223 (S.D.N.Y. 2011)........................................................................................4

Merritt v. Airbus Ams., Inc.,
   202 F. Supp. 3d 294 (E.D.N.Y. 2016) .......................................................................................7

Minnie Rose LLC v. Yu,
   169 F. Supp. 3d 504 (S.D.N.Y. 2016)........................................................................................5

Paterno v. Laser Spine Institute,
   24 N.Y.3d 370 (2014) ................................................................................................................7

Persh v. Petersen,
   2016 WL 4766338 (S.D.N.Y. Sept. 13, 2016)...........................................................................5

In re Platinum and Palladium Antitrust Litig.,
    2017 WL 1169626 (S.D.N.Y. Mar. 28, 2017) .........................................................................16

In re Prevagen Products Mktg. & Sales Practices Litig.,
    MDL No. 2783 .........................................................................................................................12

PT United Can Co. Ltd. v. Crown Cork & Seal Co., Inc.,
   No. 96-cv-3669 (JGK), 1997 WL 31194 (S.D.N.Y. Jan. 28, 1997), aff’d, 138
   F.3d 65 (2d Cir. 1998)..............................................................................................................15

Retail Software Servs., Inc. v. Lashlee,
   854 F.2d 18 (2d Cir. 1988).........................................................................................................9

                                                                    iv
             Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 6 of 30



Shostack v. Diller,
   No. 15-cv-2255, 2015 WL 5535808 (S.D.N.Y. Sept. 16, 2015) .............................................10

Sullivan v. Barclays PLC,
    2017 WL 685570 (S.D.N.Y. Feb. 21, 2017) ..............................................................................7

Thomas v. JP Morgan Chase, N.A.,
   No. 11-cv-3656, 2012 WL 2872164 (E.D.N.Y. Jul. 11, 2012)................................................15

Walden v. Fiore,
   134 S. Ct. 1115 (2014) ...................................................................................................2, 11, 20

Whitaker v. Am. Telecasting, Inc.,
   261 F.3d 196 (2d Cir. 2001).......................................................................................................4

Wilder v. News Corp.,
   No. 11-cv-4947 (PGG), 2015 WL 5853763 (S.D.N.Y. Oct. 7, 2015) .....................................11

Statutes

15 U.S.C. § 22 ................................................................................................................................19

15 U.S.C. § 53(b) .....................................................................................................................14, 18

Clayton Act Section 12 .......................................................................................................... passim

Federal Trade Commission Act Section 13(b)....................................................................... passim

Multiemployer Pension Plan Amendments Act (29 U.S.C. § 1451(d)).........................................21

NY Executive Law § 63(12) ............................................................................................................3

NY General Business Law §§ 349-50 .............................................................................................3

Racketeer Influenced and Corrupt Organizations Act (RICO) (18 U.S.C. §
   1965(d))....................................................................................................................................21

Securities Exchange Act (15 U.S.C. § 78aa) .................................................................................21

Other Authorities

CPLR 301.........................................................................................................................................6

CPLR Section 302........................................................................................................................6, 9

CPLR Section 302(a) ...................................................................................................................7, 8

CPLR Section 302(a)(1) ..............................................................................................................7, 8


                                                                        v
             Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 7 of 30



CPLR Section 302(a)(2) ..................................................................................................................8

CPLR Section 302(a)(3) ..................................................................................................................8

Fed. R. Civ. P. 12(b)(2)..........................................................................................................3, 4, 23

Fed. R. Civ. P. 12(b)(6)..............................................................................................................3, 23

Federal Rule of Civil Procedure 4(k)(1)(c) ..............................................................................12, 13

Federal Rules of Civil Procedure Rule 4 .......................................................................................18

S. Rep. No. 103-130 (1993), reprinted in 1994 U.S.C.C.A.N. 1776 .............................................15




                                                                    vi
           Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 8 of 30



          Michael Beaman and Mark Underwood (the “Individual Defendants”) submit this

supplemental memorandum of law to address more fully their two independent grounds for

dismissal of the Complaint that this Court did not reach in its September 28, 2017, Opinion and

Order.1

          First, the Individual Defendants are not subject to personal jurisdiction in New York. The

Complaint contains no plausible, non-conclusory allegations that the Individual Defendants are

domiciled in New York, that they engaged in “continuous, permanent, and substantial activity” in

New York, or that they directly and personally engaged in sustained and substantial transaction of

business in New York or aimed such activities to New York. Nor can the FTC rely upon the

nationwide service of process mechanism in Section 13(b) of the Federal Trade Commission Act

to assert personal jurisdiction over the Individual Defendants in New York absent pleading the

sufficient minimum contacts in the state. The Second Circuit has made clear in Daniel v. Am. Bd.

Of Emergency Med., 428 F.3d 408 (2d Cir. 2005), and Goldlawr, Inc. v. Heiman, 288 F.2d 579

(2d Cir. 1961), that—for statutes similar to the FTC Act—proper venue is required before

imposing personal jurisdiction on individual defendants. Here, Plaintiffs improperly seek to have

this Court find personal jurisdiction over the Individual Defendants based solely on Section 13(b)

of the FTC Act and their job titles—a position that courts in this Circuit have uniformly rejected.

          Plaintiffs’ argument would stretch federal court jurisdiction far beyond the bounds that

Congress intended and that the Constitution allows. Interpreting Section 13(b) to allow the FTC

to hale any individual into court anywhere in the country to answer for corporate conduct—even

where the individual defendant has no connection to the jurisdiction—amounts to gross overreach.



1
       As in their prior briefing, the Individual Defendants incorporate herein by reference all
arguments in support of dismissal made by the Corporate Defendants, including those made in
supplemental briefing.
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 9 of 30



The sweeping rule that the FTC advocates is not supported by the plain language of the FTC Act,

grants the FTC broad powers beyond those that Congress saw fit to bestow on the Commission,

and is contrary to Second Circuit authority. Plaintiffs’ argument would lead to the absurd result

that any individual defendant (even, potentially, a low level employee included in a television

commercial), could be forced to answer for his employer’s alleged deceptive advertising in federal

district court in New York (or Washington, D.C., or Miami, or Anchorage!). The breadth of

Plaintiffs’ position stretches one step further: where there is an FTC Act claim alleged, any

additional plaintiff (here, the NYAG) could join the litigation and assert state law claims against

individuals, even where that individual has no connection to that state.

        Plaintiffs’ overreaching interpretation of Section 13(b) is particularly startling in light of

the Supreme Court’s recent trend of narrowing personal jurisdiction over out-of-state defendants

for Due Process reasons. See, e.g., Daimler AG, 134 S. Ct. at 748 (rejecting “exorbitant exercises

of all-purpose [general] jurisdiction” that would “presumably be available in [any] other State”);

Walden, 134 S. Ct. at 1122 (limiting specific jurisdiction; “Due process limits on the State’s

adjudicative authority principally protect the liberty of the nonresident defendant—not the

convenience of plaintiffs or third parties.”).

        Reading all of the words of Section 13(b) makes it clear that nationwide service of process

is only available where there is a proper venue. The FTC’s interpretation of Section 13(b) is not—

and should not become—the law of the Second Circuit and this Court. The Court should reject

Plaintiffs’ interpretation of Section 13(b) because it is contrary to the plain language of the statute,

Second Circuit authority, and would do grave damage to fundamental due process rights. This is

particularly stark here, where Plaintiffs have not credibly pled that the Individual Defendants have




                                                   2
            Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 10 of 30



sufficient minimum contacts with New York to establish jurisdiction under New York’s long-arm

statute.

           Second, the Complaint did not adequately allege any wrongdoing by the Individual

Defendants sufficient to state a claim for violation of the FTC Act, NY General Business Law

(“NY GBL”) §§ 349-50, and NY Executive Law (“NY Exec. Law”) § 63(12). On this point, the

Individual Defendants rely on their prior briefs as noted below.

           As set forth more fully herein, the Court should grant the Individual Defendants’ motion

to dismiss for lack of personal jurisdiction under Fed. R. Civ. P. 12(b)(2) and failure to state a

claim under Fed. R. Civ. P. 12(b)(6).

                                            ARGUMENT

I.         The Complaint Fails to State a Claim Against the Individual Defendants

           Plaintiffs have failed to plead plausible, non-conclusory allegations showing that the

Individual Defendants personally participated in the allegedly improper practices or controlled

Quincy—and that they knew of the allegedly improper practices. Plaintiffs have therefore not

adequately pled liability under the FTC Act, NY GBL §§ 349-50, and NY Exec. Law § 63(12).

The Individual Defendants respectfully refer the Court to, and fully incorporate herein, their prior

briefing of this issue at Dkt. #37, pp. 9-12 and Dkt. #43, pp. 14-19.2




2
         Plaintiffs have previously cited to FTC v. Moses, 913 F.3d 297 (2d Cir. 2019), but that case
is distinguishable. In Moses, the court granted summary judgment on FTC Act liability against
individuals where the record evidence demonstrated that the individuals had the authority to
control the corporation’s deceptive actions and specifically partook in the unlawful activities at
issue (in that case, improper collection calls). Moreover, the individuals’ knowledge of improper
activity was demonstrated by their execution, years before, of an “Assurance of Discontinuance”
with the government in response to accusations of these very FTC violations. Here, as discussed
in the Individual Defendants’ prior briefing, the Complaint does not allege that the Individual
Defendants were involved in, had knowledge of, or had any control over the challenged conduct.
                                                  3
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 11 of 30



II.    The Individual Defendants are not Subject to Personal Jurisdiction in New York

       Plaintiffs’ jurisdictional allegations against the Individual Defendants consist of nothing

more than boilerplate, vague, and conclusory assertions that each Individual Defendant “in

connection with the matters alleged herein, transacts or has transacted business in this district and

throughout the United States, including New York,” and has appeared in (Underwood) and/or

reviewed (Underwood and Beaman) advertising that has been disseminated in New York. (Compl.

¶¶ 13-16.) In light of these grossly inadequate allegations, the Individual Defendants moved to

dismiss the Complaint pursuant to Rule 12(b)(2) for lack of personal jurisdiction.

       In order to defeat a motion to dismiss under Rule 12(b)(2), “[t]he plaintiff bears the burden

of establishing that the court has jurisdiction over the defendant.” Whitaker v. Am. Telecasting,

Inc., 261 F.3d 196, 208 (2d Cir. 2001). “A plaintiff may carry this burden by pleading in good

faith … legally sufficient allegations of jurisdiction.” Id. But “a court will not draw argumentative

inferences in the plaintiff’s favor.” Mazloum v. Int’l Commerce Corp., 829 F. Supp. 2d 223, 227

(S.D.N.Y. 2011). Allegations about jurisdiction that are not supported by facts or that merely track

the jurisdictional standards fail, as a matter of law, to establish personal jurisdiction. See Jazini v.

Nissan Motor Co., Ltd., 148 F.3d 181, 184-85 (2d Cir. 1998).

        Here, the Plaintiffs were required to set forth a prima facie case of personal jurisdiction in

New York over Defendants Underwood and Beaman—independent of the personal jurisdiction in

New York over the Corporate Defendants. Indeed, when jurisdiction is contested, “[t]he plaintiff

must satisfy its burden with respect to each defendant separately.” Aquiline Capital Partners LLC

v. FinArch LLC, 861 F. Supp. 2d 378, 385 (S.D.N.Y. 2012) (emphasis added). As the Supreme

Court cautioned in Keeton v. Hustler Magazine, Inc., 465 U.S. 770 (1984), “jurisdiction over an

employee does not automatically follow from jurisdiction over the corporation which employs him

… . Each defendant’s contacts with the forum State must be assessed individually.” Id. at 781 n.

                                                   4
        Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 12 of 30



13; see also Grow Group, Inc. v. Jandernoa, 1996 WL 31848, at *5 (S.D.N.Y. Jan. 26, 1996).

Because the Individual Defendants are not subject to personal jurisdiction in New York, the

Complaint should be dismissed as against them on this alternate ground.

              1.      The Individual Defendants Are Not Subject To General Personal
                      Jurisdiction In New York

       An individual defendant may be subject to general personal jurisdiction in New York only

if the complaint includes a prima facie showing of the defendant’s “continuous, permanent, and

substantial activity in New York.” Persh v. Petersen, 2016 WL 4766338, at *5 (S.D.N.Y. Sept.

13, 2016) (quoting Wiwa v. Royal Dutch Petroleum Co., 226 F.3d 88, 95 (2d Cir. 2000)). “For an

individual, the paradigm forum for the exercise of general jurisdiction is the individual’s

domicile.” Minnie Rose LLC v. Yu, 169 F. Supp. 3d 504, 512 (S.D.N.Y. 2016) (quoting Goodyear

Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011)).

       The Plaintiffs failed to allege that the Individual Defendants were domiciled in New York,

or that their contacts with New York were continuous or permanent. Instead, they alleged in a

purely conclusory manner that the Individual Defendants “transact[] or ha[ve] transacted business

in this district and throughout the United States, including New York.” (Compl. ¶¶13, 15.)

Plaintiffs also alleged that Defendant Underwood appeared in Prevagen advertising that the

Corporate Defendants aired in New York and authored a Prevagen marketing piece that the

Corporate Defendants disseminated in New York. (Compl. ¶14.)

       With regard to Defendant Beaman, Plaintiffs only alleged that he reviewed the Corporate

Defendants’ advertising, including some advertising that the Corporate Defendants disseminated

in New York. (Compl. ¶16.) Plaintiffs failed to allege that any of these acts occurred in New

York or that the Individual Defendants ever even stepped foot in New York. These limited




                                               5
        Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 13 of 30



allegations of New York contact fall far short of the “continuous, permanent, and substantial

activity” required for general personal jurisdiction over the Individual Defendants.

       Nor are the Individual Defendants subject to general personal jurisdiction in New York as

a result of their corporate positions. See Doe v. Nat’l Conference of Bar Examiners, 2017 WL

74715, at *7 n. 13 (E.D.N.Y. Jan. 6, 2017) (noting that individuals are not subject to CPLR 301

jurisdiction based solely on their status as corporate officers) (citing Duravest, Inc. v. Viscardi,

A.G., 581 F. Supp. 2d 628, 635 (S.D.N.Y. 2008)); Big Apple Pyrotechnics & Multimedia Inc. v.

Sparktacular Inc., 2007 WL 747807, at *6 (S.D.N.Y. Mar. 6, 2007) (“[An individual or employee]

does not subject himself, individually, to the CPLR 301 jurisdiction of our courts, however, unless

he is doing business in our State individually.”) (quoting Laufer v. Ostrow, 55 N.Y.2d 305, 313

(1982)). The Individual Defendants are therefore not subject to general personal jurisdiction in

New York pursuant to CPLR 301.

               2.      The Individual Defendants Are Not Subject To Specific Personal
                       Jurisdiction In New York

       The Individual Defendants are also not subject to specific personal jurisdiction in New

York pursuant to CPLR Section 302.          New York’s “long-arm statute” allows for personal

jurisdiction over a non-domiciliary in the limited circumstances where the non-domiciliary:

               1.      Transacts any business within the state or contracts
                       anywhere to supply goods or services in the state; or

               2.      Commits a tortious act within the state …; or

               3.      Commits a tortious act without the state causing injury to
                       person or property within state … if he (i) regularly does or
                       solicits business, or engages in any other persistent course of
                       conduct or derives substantial revenue from goods used or
                       consumed or services rendered, in the state, or (ii) expects or
                       should reasonably expect the act to have consequences in the
                       state and derives substantial revenue from interstate or
                       international commerce; or


                                                 6
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 14 of 30



               4.      Owns, uses or possesses any real property situated within the
                       state.

CPLR Section 302(a).

       The Complaint fails to satisfy any of the CPLR Section 302(a) requirements. Under CPLR

Section 302(a)(1), a non-domiciliary will be found to have “transacted business” in New York

“only where a defendant’s direct and personal involvement on his own initiative projected himself

into New York to engage in a sustained and substantial transaction of business.” Aquiline Capital

Partners, 861 F. Supp. 2d at 386 (emphasis added, internal quotations omitted); see also ICO

Servs., Ltd. v. Coinme, Inc., 2018 WL 6605854, at *2 (S.D.N.Y. Dec. 17, 2018); Paterno v. Laser

Spine Institute, 24 N.Y.3d 370, 377 (2014) (citing the “on his own initiative” standard and noting

that only “where the non-domiciliary seeks out and initiates contact with New York, solicits

business in New York, and establishes a continuing relationship, a non-domiciliary can be said to

transact business within the meaning of CPLR 302(a)(1)”) (emphasis added). The conclusory

allegation that the Individual Defendants “transact[] or ha[ve] transacted business in this district,”

(Compl. ¶¶13, 15), is “no more than a legal conclusion insufficient on its own to establish

jurisdiction.” Merritt v. Airbus Ams., Inc., 202 F. Supp. 3d 294, 299 (E.D.N.Y. 2016). And

Plaintiffs failed to allege that either of the Individual Defendants directly and personally engaged

in sustained and substantial transaction of business in New York. See, e.g., Hill v. HSBC Bank

PLC, 207 F. Supp. 2d 333, 340 (S.D.N.Y. 2016) (“Any marketing, even if directed at New York

residents (which is not alleged here), is insufficient to establish a transaction of business under

Section 302(a)(1), unless it is supplemented by business transactions occurring in the state.”); Mao

v. Sands Bethworks Gaming LLC, 2016 WL 1717220, at *4 (S.D.N.Y. Apr. 28, 2016) (“the mere

solicitation of business or advertisement in New York, without more, is insufficient to confer

jurisdiction under Section 302(a)(1)”); A.W.L.I. Group, Inc. v. Amber Freight Shipping Lines, 828


                                                  7
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 15 of 30



F. Supp. 2d 557, 566 (E.D.N.Y. 2011) (holding that even if advertising was directed at New York

residents, “the Plaintiff does not allege any other facts from which the Court can infer that the

Defendant purposefully availed itself of the privilege of conducting business in New York”

sufficient to satisfy CPLR Section 302(a)(1)).

       The Complaint also fails to allege that the Individual Defendants took any actions in New

York, which would be required to satisfy CPLR Section 302(a)(2), or that they aimed their

activities at New York, which would be required to satisfy CPLR Section 302(a)(3). While the

Complaint makes vague and conclusory allegations regarding the Individual Defendants’

“transacting business” in New York and participation in certain activities aimed at New York, such

conclusory allegations do not suffice under CPLR Section 302(a). See, e.g., Deitrick v. Gypsy

Guitar Corp., 2016 WL 7494881, at *5 (S.D.N.Y. Dec. 28, 2016) (“Plaintiff’s conclusory claim

that [defendant] sells guitars through retailers in New York is insufficient for a prima facie

showing of jurisdiction.”); Adamou v. Cnty. of Spotsylvania, Virginia, 2016 WL 1064608, at *10

(S.D.N.Y. Mar. 14, 2016) (allegations that defendants “participated in, supervised, ratified, or

tacitly approved various activities” amounted to “legal conclusions” that did not support specific

personal jurisdiction).

       Plaintiffs’ other arguments in favor of finding personal jurisdiction are unavailing.

       First, Plaintiffs have argued that dicta from a 1961 Court of Appeals case renders the

standard for exercising jurisdiction over a lawsuit brought in the “public interest” more relaxed

than in private civil litigation, citing La Belle Creole Int’l, S. A. v. Attorney-Gen., 10 N.Y.2d 192,

197-98 (1961). This is incorrect. Plaintiffs misconstrued the holding of La Belle Creole, which

stands for the unremarkable proposition that the NYAG has the broad ability to conduct a pre-

lawsuit regulatory investigation. There, the court rejected a foreign company’s motion to quash



                                                  8
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 16 of 30



an investigative subpoena because due process did not prevent the NYAG from initiating an

investigation into whether the company violated New York law. In reaching its decision, the Court

of Appeals recognized the distinction between a pre-lawsuit investigation and a civil lawsuit

brought by the Attorney General. Id. at 198 (“A foreign corporation’s immunity from civil suit in

New York, on the ground that it is not doing business there, does not mean that it is immune from

investigation by the Attorney-General in an inquiry to determine whether it is violating the laws

of this State.”).

        Here, even after conducting an extensive pre-lawsuit investigation, Plaintiffs could only

plead enough “facts” to make boilerplate jurisdictional and substantive allegations against the

Individual Defendants.

        Second, Plaintiffs have argued that the Individual Defendants must be subject to personal

jurisdiction in New York under CPLR Section 302 based on the Corporate Defendants’ contacts

with the State. Plaintiffs based their argument on Kreutter v. McFadden Oil Corp., 71 N.Y.2d

460, 467 (1988), and Retail Software Servs., Inc. v. Lashlee, 854 F.2d 18, 22 (2d Cir. 1988), two

cases that only stand for the proposition that a corporate officer may be subject to personal

jurisdiction in New York when he is a “primary actor” in the conduct at issue in the lawsuit. See

Kreutter, 71 N.Y.2d at 470 (rejecting the fiduciary shield doctrine in New York; reasoning that the

plaintiff “seeks to acquire jurisdiction over an individual who was a primary actor in the transaction

with him in New York, not some corporate employee in Texas who played no part in it”); Retail

Software Servs., 854 F.2d at 22 (same). But,

                [i]n order to attribute a corporation’s New York contacts to an
                individual under CPLR § 302(a)(1), New York law requires a
                Plaintiff to convince the court that the corporation engaged in
                purposeful activities in this State in relation to Plaintiff’s transaction
                for the benefit of and with the knowledge and consent of the
                individual defendant and that the individual defendant exercised

                                                    9
        Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 17 of 30



               some control over the corporation in the matter. … Conclusory
               allegations that the corporate officers exercised control over the
               corporation by virtue of their title or position within the
               corporation, or derived some benefit from the corporation’s
               activities do not suffice; courts routinely grant motions to dismiss
               for lack of personal jurisdiction when the plaintiff relies solely on
               such vague assertions.

Shostack v. Diller, No. 15-cv-2255 (GBD-JLC), 2015 WL 5535808, at *4-5 (S.D.N.Y. Sept. 16,

2015) (emphasis added), report and recommendation adopted, 2016 WL 958687 (GBD-JLC)

(S.D.N.Y. Mar. 8, 2016) (dismissing individual defendants where plaintiff “asserts no facts

alleging that the individual defendants had any direct involvement in the actions giving rise to this

litigation.”) (internal citations omitted); see also Arma v. Buyseasons, Inc., 591 F. Supp. 2d 637,

647 (S.D.N.Y. 2008) (dismissing individual defendant based on allegations that “Getz is President,

Chief Executive Officer (CEO) and principal shareholder and driving force behind co-defendants

BuySeasons and BuyCostumes, . . . and that Getz was actively engaged in the day to day decisions

with respect to the use of intellectual property during the term of the contract and personally

participated in the day to day decisions relating to the use of the marks and images in various forms

of advertising and media during the term of the contract.”) (internal quotations omitted); Karabu

Corp. v. Gitner, 16 F. Supp. 2d 319, 324-25 (S.D.N.Y. 1998) (dismissing individual defendants

where the complaint only alleged that they “directed TWA personnel to seek out and wrongfully

punish travel agencies doing business with Global, and that TWA personnel thereafter wrongfully

coerced travel agencies in New York and elsewhere at the direction of defendants.”) (internal

quotations omitted).

       Finally, the Complaint’s only allegations purportedly linking the Individual Defendants to

New York are that they appeared in (Underwood) and/or reviewed (Underwood and Beaman)

advertising that was disseminated by the Corporate Defendants in New York. (Compl. ¶¶14, 16.)

But, “[a] forum State’s exercise of jurisdiction over an out-of-state intentional tortfeasor must be
                                                 10
          Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 18 of 30



based on intentional conduct by the defendant that creates the necessary contacts with the forum.”

Walden v. Fiore, 134 S. Ct. 1115, 1123 (2014). “[T]he relationship must arise out of contacts that

the ‘defendant himself’ creates with the forum State.” Id. at 1122 (emphasis in original). Since

Walden, the Southern District of New York has held that a corporate executive’s out-of-state

involvement with media that was projected into New York by the corporation is insufficient to

confer personal jurisdiction. See Wilder v. News Corp., No. 11-cv-4947 (PGG), 2015 WL

5853763, at *8 (S.D.N.Y. Oct. 7, 2015) (holding that “[e]ven if (1) Brooks participated in the

creation and dissemination of the press releases, and (2) it was foreseeable that they would have

an effect in New York, the exercise of personal jurisdiction over her requires more . . . . Plaintiffs

must allege facts demonstrating that Brooks intentionally caused—i.e., expressly aimed to cause—

an effect in the forum through her conduct . . . . Because the SAC does not plead facts

demonstrating that Brooks’ actions were taken with the express aim of causing an effect in New

York, the effects test is not satisfied.”); see also Gordon v. Invisible Children, Inc., No. 14-cv-

4122 (PGG), 2015 WL 5671919, at *8 (S.D.N.Y. Sept. 24, 2015) (dismissing defendant who was

only alleged to have directed and narrated a video out-of-state that was used by a third-party to

garner donations from New York residents). As in Wilder and Gordon, Plaintiffs’ allegations fall

far short of demonstrating that the Individual Defendants “intentionally caused—i.e., expressly

aimed to cause—an effect in [New York] through [their] conduct.” See Wilder, 2015 WL 5853763,

at *8.

                3.     The Individual Defendants Have Not Waived Their Personal
                       Jurisdiction Argument

         Plaintiffs argued before this Court that the Individual Defendants somehow “waived” their

personal jurisdiction argument because they did not object to the Complaint based on improper or

inconvenient venue. But the Individual Defendants’ motion to dismiss was based on a more


                                                 11
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 19 of 30



fundamental defect—that the court did not have personal jurisdiction over the Individual

Defendants.

       Plaintiffs also argued that personal jurisdiction over the Individual Defendants in New

York is proper because the Individual Defendants petitioned (along with the Corporate

Defendants) the U.S. Judicial Panel on Multidistrict Litigation to transfer and consolidate this

action with three putative class actions in the Southern District of New York. (See In re Prevagen

Products Mktg. & Sales Practices Litig., MDL No. 2783, Mot. To Transfer, Dkt 1.) But the fact

that the Southern District of New York is a convenient forum for a Multidistrict Litigation is not

a substitute for proper personal jurisdiction in this or any other case consolidated in the MDL. See

In re Korean Air Lines Co., Ltd., 642 F.3d 685, 699 (9th Cir. 2011) (the transferee judge “inherits

the entire pretrial jurisdiction” that the transferor court could have exercised had the case not been

transferred.). The Individual Defendants could have—and would have—made this same motion

if the cases were consolidated in an MDL.

               4.      The FTC Act Does Not Confer Nationwide Personal Jurisdiction

       Plaintiffs have also argued that the FTC can sue in New York (or any other jurisdiction it

chooses) any corporate or individual defendant doing business anywhere in the United States. The

FTC pointed to Federal Rule of Civil Procedure 4(k)(1)(c), which states “[s]erving a summons or

filing a waiver of service establishes personal jurisdiction over a defendant: [] when authorized by

federal statute.”   The FTC claims that Section 13(b) of the FTC Act gives the FTC that

authorization.3 By implication, Plaintiffs also contend that the NYAG (or any State Attorney




3
       Nor is the FTC entitled to Chevron deference with regard to its overbroad interpretation of
the Section 13(b) of the FTC Act. See generally Chevron U. S. A. Inc. v. Natural Resources
Defense Council, Inc., 467 U. S. 837 (1984). This Court must decide whether it has jurisdiction
over the Individual Defendants, not the FTC.
                                                 12
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 20 of 30



General and presumably any private litigant joining suit with the FTC), via supplemental

jurisdiction, can sue any defendant even if that defendant’s conduct has no direct ties to New York.

       But these arguments are wrong. The Second Circuit has made clear that it “has not yet

decided” whether, “when a civil case arises under federal law and a federal statute authorizes

nationwide service of process, the relevant contacts for determining personal jurisdiction are

contacts with the United States as a whole.” Gucci Am. v. Bank of China, 768 F.3d 122, 142 n. 23

(2d Cir. 2014). Here, the case is even more compelling because the plain language of Section

13(b) of the FTC Act makes clear that nationwide service of process is only available when venue

is proper.

                       a.      Section 13(b) of the FTC Act Does Not Confer Nationwide
                               Personal Jurisdiction Over the Individual Defendants

       The express language of Section 13(b) requires the FTC first to demonstrate that a

defendant “resides or transacts business” or is properly venued in a district (i.e. that the defendant

is subject to personal jurisdiction in the district).4 Only then may the FTC take advantage of the

provision that follows regarding nationwide service of process.

       Section 13(b) states:

               Any suit may be brought where such person, partnership, or
               corporation resides or transacts business, or wherever venue is
               proper under Section 1391 of Title 28. In addition, the court may,
               if the court determines that the interests of justice require that any
               other person, partnership, or corporation should be a party in such
               suit, cause such other person, partnership, or corporation to be added
               as a party without regard to whether venue is otherwise proper in the
               district in which the suit is brought. In any suit under this section,
               process may be served on any person, partnership, or corporation
               wherever it may be found.


4
       Importantly, this jurisdictional statute applies, if at all, only to claims brought under the
FTC Act in Counts I and II. If Counts I and II are dismissed, Fed. R. Civ. P. 4(k)(1)(c) would not
confer personal jurisdiction over the Individual Defendants in New York for the state law claims
alleged in Counts III and IV.
                                                 13
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 21 of 30



15 U.S.C. § 53(b) (emphasis added).

        The only logical reading of this language is that “any suit under this section” filed by the

FTC must first “be brought where such person, partnership, or corporation resides or transacts

business, or wherever venue is proper under section 1391 of Title 28.” Id. Only then is the FTC

authorized to effect service “on any person, partnership or corporation wherever it may be found.”

Id. This reading gives effect to the whole paragraph, and is compelled by the opening clause of

the purported nationwide service of process provision: the phrase “[i]n any suit under this section”

logically refers to a suit brought where a defendant “resides or transacts business, or wherever

venue is proper . . . .” Id.

        Plaintiffs urges an overly broad interpretation of Section 13(b)—that the FTC has authority

under Section 13(b) to sue anyone in any place for any violation of any law enforced by the FTC.

Such a reading would improperly read out of the statute the threshold venue requirement. Congress

would not have prescribed venue as where defendants “reside or transact business or wherever

venue is proper under section 1391 of Title 28,” id., if it intended such a broad result. Nor would

it have been necessary for Congress to authorize suit against any other entity (if the court

determines that it is in the interest of justice) “without regard to whether venue is otherwise proper

in the district in which the suit is brought.” Id. If Plaintiffs’ interpretation were correct, these

statutory pre-conditions to jurisdiction would be rendered utterly meaningless.

        Such a result ignores the well-accepted canon of statutory construction that requires that

“statutes must be construed in their entirety, so that the meaning of one provision sheds light upon

the meaning of another.” J.E.M. AG Supply, Inc. v. Pioneer Hi-Bred Int’l, Inc., 534 U.S. 124, 146

(2001) (Scalia, J., concurring); see also Daniel, 428 F.3d at 423 (“The plainness or ambiguity of

statutory language is determined by reference to the language itself, the specific context in which



                                                 14
        Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 22 of 30



that language is used, and the broader context of the statute as a whole.”) (quoting Robinson v.

Shell Oil Co., 519 U.S. 337, 341 (1997)).

       Moreover, the FTC Act’s legislative history does not support Plaintiffs’ interpretation of

the statute. The legislative history shows Congressional intent to “permit[] the FTC to join

individuals and companies based in multiple jurisdictions in a single action, rather than filing

separate lawsuits in multiple jurisdictions.” S. Rep. No. 103-130, at 15-16 (1993), reprinted in

1994 U.S.C.C.A.N. 1776. This intent is reflected in Section 13(b)’s “interests of justice” language,

which permits the FTC to “[add] a party without regard to whether venue is otherwise proper in

the district in which the suit is brought” in the limited circumstances where the FTC cannot

properly join all necessary parties in any one jurisdiction. See, e.g., PT United Can Co. Ltd. v.

Crown Cork & Seal Co., Inc., No. 96-cv-3669 (JGK), 1997 WL 31194, at *4 (S.D.N.Y. Jan. 28,

1997), aff’d, 138 F.3d 65, 72 (2d Cir. 1998) (holding that because all the defendants could be sued

in the Eastern District of Pennsylvania, the “ends of justice” in a RICO case did not require

jurisdiction over the individual defendants in the Southern District of New York); Thomas v. JP

Morgan Chase, N.A., No. 11-cv-3656 (JG-RML), 2012 WL 2872164, at *5 (E.D.N.Y. Jul. 11,

2012) (“ends of justice” did not require exercise of personal jurisdiction in a RICO case where

claims could have been brought against all defendants in Texas federal court). Here, the “interests

of justice” do not permit the FTC to join the Individual Defendants as parties in the Southern

District of New York, because it is undisputable that Plaintiffs could have brought this lawsuit in

a jurisdiction that has personal jurisdiction over all defendants—Wisconsin.

       Accordingly, Section 13(b) does not confer nationwide personal jurisdiction over the

Individual Defendants.




                                                15
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 23 of 30



                        b.      The Second Circuit’s Decisions in Goldlawr and Daniel Support
                                the Proper Interpretation of Section 13(b) of the FTC Act

        While the language of Section 13(b) (standing on its own) is clear and shows that

nationwide service of process clause does not in and of itself impose personal jurisdiction over the

Individual Defendants in New York, persuasive Second Circuit authority also mandates this

conclusion. In Goldlawr, 288 F.2d 579, the Second Circuit held that under Section 12 of the

Clayton Act—a provision analogous to Section 13(b) of the FTC Act—“the extraterritorial service

privilege [of nationwide service of process, and the personal jurisdiction attendant to it] is given

only when the other requirements [of venue] are satisfied.” Id. at 581. Forty years later, the Second

Circuit upheld this reasoning in Daniel, 428 F.3d 408. See also In re Platinum and Palladium

Antitrust Litig., 2017 WL 1169626, at *43 n. 18 (S.D.N.Y. Mar. 28, 2017) (“Because the service

of process provision applies only to ‘such cases’ described in the preceding clause, the Second

Circuit has concluded that nationwide service of process is permissible ‘only in cases in which its

venue provision is satisfied.’”) (quoting Sullivan v. Barclays PLC, 2017 WL 685570, at *42

(S.D.N.Y. Feb. 21, 2017)). This is exactly the same analysis that should govern Section 13(b).

        Plaintiffs have previously argued that Goldlawr and Daniel are not applicable to Section

13(b) because the language of Section 13(b) is different, and broader, than Section 12 of the

Clayton Act. But the differences that Plaintiffs point to are superficial. Plaintiffs argued that, in

Daniel, the Second Court “expressly construed the ‘such cases’ reference [in Section 12] as the

basis for limiting the scope of the service of process . . . [and] [t]he scope of the service of process

authority under Section 13(b) is not limited to ‘such cases’ but instead applies to ‘any suit under

this section.’” Plaintiffs’ argument entirely missed the point of Daniel. Daniel stands for the

proposition that a court, when interpreting a special venue provision, must closely read the statute

“the way it is written.” The Daniel opinion did not say that the inclusion of the specific language


                                                  16
        Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 24 of 30



“such cases” is dispositive as a matter of law. In Daniel, the Second Circuit analyzed Section 12

of the Clayton Act as follows:

               [W]e begin with the text of Section 12 to determine whether its
               language is clear or ambiguous. [] The plainness or ambiguity of
               statutory language is determined by reference to the language itself,
               the specific context in which that language is used, and the broader
               context of the statute as a whole. If the meaning is plain, we inquire
               no further. [] Only if we discern ambiguity do we resort first to
               canons of statutory construction, [] and, if the meaning remains
               ambiguous, to legislative history.

               Applying these principles to this case, we conclude from the
               language and context of “in such cases” in the service of process
               provision of Section 12, that the phrase plainly refers to those cases
               qualifying for venue in the immediately preceding clause. The
               common meaning of the word “such” is “having a quality already or
               just specified”; “of this or that character, quality, or extent: of the
               sort or degree previously indicated or implied”; or “previously
               characterized or described: aforementioned.” [] The “quality” of the
               cases specified in the provision of Section 12 preceding the
               semicolon is not simply that they are antitrust cases, or even antitrust
               cases against corporations; it is that they are antitrust cases against
               corporations brought in the particular venues approved by Section
               12: where the defendant is an “inhabitant,” where it “may be
               found,” or where it “transacts business.” 15 U.S.C. § 22. It is “in
               such cases,” i.e., such venued cases, that Section 12 makes
               worldwide service of process available.

Daniel, 428 F.3d at 423-24 (internal citations omitted). Following this precise textual analysis,

the Second Circuit concluded:

               In sum, when we interpret Section 12 “the way it is written,” we are
               obliged to conclude that its service of process provision can properly
               confer personal jurisdiction over a defendant “only when the action
               is brought in the district where the defendant resides, is found, or
               transacts business,” that is, the district where Section 12 venue lies.

Id. at 427 (emphasis added). Thus, the Second Circuit’s reading of Section 12 did not turn

specifically on the “such cases” language, but rather on the existence of a venue prerequisite in the

service of process provision.



                                                 17
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 25 of 30



       Section 13(b) of the FTC Act is functionally equivalent to Section 12 of the Clayton Act.

Just as the “such cases” language in Section 12 refers to cases that meet the venue requirement of

the Clayton Act, the “[i]n any suit under this section” language in Section 13(b) “plainly refers to

those cases qualifying for venue in the immediately preceding clause.” Id. at 424. And, just as

the Second Circuit explained in Daniel, the “quality” of the cases specified in the first sentence of

Section 13(b) is not simply that they are deceptive advertising cases, or even deceptive advertising

cases against individuals; it is that they are deceptive advertising cases against individuals brought

in the particular venues approved by Section 13(b): where the defendant “resides” or “transacts

business,” or “wherever venue is proper under Section 1391 of Title 28.” See 15 U.S.C. § 53(b).

It is “[i]n any suit under this section,” i.e., such venued cases, that Section 13(b) makes nationwide

service of process available.

                       c.       Other Cases Outside This District Interpreting Section 13(b) are
                                not Persuasive Following Daniel

       Plaintiffs have pointed out that certain district courts have agreed with their interpretation

of Section 13(b). But no such cases have been decided by the Second Circuit and these cases are

not binding on this Court. Moreover, where the district courts have essentially just rubber-stamped

the FTC’s interpretation of Section 13(b), such decisions are inconsistent with Daniel and its

rigorous textual analysis. See, e.g., Federal Trade Comm’n v. Navestad, No. 09-cv-6329T, 2010

WL 743899, at *3 (W.D.N.Y. Feb. 25, 2010) (holding, without citation, that “[b]ecause the Federal

Trade Commission Act authorizes service of process to be effectuated on any defendant wherever

that defendant may be found, this court may exercise personal jurisdiction over such a defendant

pursuant to Rule 4 of the Federal Rules of Civil Procedure . . . .”; parties did not argue, and the

court did not consider, the applicability of Daniel or Goldlawr); see also Federal Trade Comm’n

v. Construct Data Publishers, A.S., No. 13-cv-01999, 2014 WL 7004999, at *3 (N.D. Ill. Dec. 11,


                                                 18
        Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 26 of 30



2014); Federal Trade Comm’n v. Mallett, 818 F. Supp. 2d 142, 147 (D.D.C. 2011); Federal Trade

Comm’n v. Alternatel, Inc., No. 08-cv-21433 (AJ), 2006 WL 3106448, slip op. at 2 (S.D. Fla. Oct.

27, 2008); Federal Trade Comm’n v. Cleverlink Trading Ltd., No. 05-cv-2889, 2006 WL 1735276,

at *3-4 (N.D. Ill. June 19, 2006).5

       These decisions are wholly inconsistent with Daniel because Section 12 of the Clayton

Act—which does not confer nationwide personal jurisdiction—includes the very same “wherever

it may be found” language as the FTC act. See 15 U.S.C. § 22 (“all process in such cases may be

served in the district of which it is an inhabitant, or wherever it may be found.”) (emphasis added).

When the Court reads Section 13(b) “the way it is written,” and ignores Plaintiffs’ superficial

comparisons, it will find that the statute does not confer nationwide personal jurisdiction. Only

Congress can fix that.

       For this same reason, the FTC’s citation in its appellate briefing to FTC v. Ams. For Fin.

Reform, 720 F. App’x 380 (9th Cir. 2017), is inapt. The Ninth Circuit has diverged from the

Second Circuit in interpreting nationwide service of process provisions—in particular, provisions

with venue limitations such as those in the FTC Act. This circuit split became clear in Daniel:

whereas the Second Circuit held that the inclusion of a venue qualifier in the Clayton Act meant

that venue was a prerequisite for personal jurisdiction, the Second Circuit acknowledged that its

conclusion was contrary to the position of the Ninth Circuit (and the Third Circuit), which “hold[s]

that Section 12’s service of process provision is ‘independent of and does not require satisfaction

of’ the section’s venue provision.” Daniel, 428 F.3d at 423 (quoting In re Auto. Refinishing Paint




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        Two other cases cited by Plaintiffs, Federal Trade Comm’n v. Seismic Entm’t Prods.,No.
04-cv-377 (JD), 2005 WL 2319944, at *1 (D.N.H. Sept. 22, 2005) and Federal Trade Comm’n v.
Bay Area Bus. Council, Inc., No. 02-cv-5762, 2003 WL 21003711, at *2 (N.D. Ill. May 1, 2003),
reach this conclusion with no analysis whatsoever.
                                                 19
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 27 of 30



Antitrust Litig., 358 F.3d 288, 297 (3d Cir. 2004) and citing Action Embroidery Corp. v. Atl.

Embroidery, Inc., 368 F.3d 1174, 1179-80 ( 9th Cir. 2004)); see also FTC v. Consumer Def., LLC,

2018 WL 2741039, at *14 (D. Nev. June 6, 2018) (noting that the Ninth Circuit holds that the

Clayton Act allows for nationwide service of process, despite its venue provision, and that because

the “FTC Act national service provision is nearly identical to the national service provision in the

… Clayton Act,” the defendant in the FTC Act claim did not have to satisfy a venue analysis for

purposes of personal jurisdiction). Thus, the Ninth Circuit’s interpretation in Americans for Fin.

Reform of the service of process provision in the FTC Act—without analysis—is inconsistent with

the statute, in conflict with Second Circuit law and has no persuasive value for this Court.

       Moreover, most of the cases Plaintiffs cite were decided before the Supreme Court’s recent

trend of limiting personal jurisdiction over out-of-state defendants based on due process concerns.

See, e.g., Walden, 134 S. Ct. at 1126 (holding that “[p]etitioner’s relevant conduct occurred entirely

in Georgia, and the mere fact that his conduct affected plaintiffs with connections to the forum

State [Nevada] does not suffice to authorize jurisdiction”); Daimler AG v. Bauman, 134 S. Ct. 746

(2014) (holding that foreign company with U.S. subsidiary that has sizable sales in California is

not subject to general personal jurisdiction in California); Goodyear Dunlop Tires Operations, ,

564 U.S. 915 (holding that foreign subsidiaries of U.S. parent company are not subject to general

jurisdiction in parent company’s domicile for claims unrelated to any activity of the subsidiaries

in that jurisdiction); J. McIntyre Machinery, Ltd. v. Nicastro, 564 U.S. 873 (2011) (holding that

foreign manufacturer with no contacts to New Jersey is not subject to jurisdiction in New Jersey

state court in products liability suit based on injury that occurred in New Jersey). These cases

make clear that personal jurisdiction requires, at a minimum, actual contacts with the forum state.

The FTC’s sweeping claim of nationwide personal jurisdiction regardless of a defendant’s contact



                                                 20
        Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 28 of 30



with the forum state flies in the face of this precedent and goes far beyond what Congress

authorized.

       Finally, the FTC’s reliance in its appellate briefing on BNSF RR. Co. v. Tyrrell, 137 S. Ct.

1549 (2017) is misplaced. In BNSF, the Supreme Court considered whether a particular provision

in the Federal Employers’ Liability Act provided the conditions for venue over claims under that

statute or personal jurisdiction over potential defendants. In her majority opinion, Justice Ginsburg

held that the relevant provision only concerned venue, not personal jurisdiction. In so holding,

Justice Ginsburg noted expressions Congress usually uses “to indicate the federal districts in which

venue is proper.” BNSF, 137 S. Ct. at 1555. Justice Ginsburg compared these with “Congress’

typical mode of providing for the exercise of personal jurisdiction,” which is “to authorize service

of process.” Id. As an example of a statute that provides for personal jurisdiction by authorizing

service of process, Justice Ginsburg cited to Section 13(b) of the FTC Act. But this (dicta) is not

extraordinary; the Individual Defendants do not dispute that the FTC Act—under certain

conditions—allows for personal jurisdiction by authorizing service of process. But—critically—

there is a threshold venue requirement that must be met before personal jurisdiction can be found.

The dicta from BNSF on which Plaintiffs rely does not suggest otherwise.

                       d.      The Other Statutes Plaintiffs Cite Do Not Mandate Their
                               Reading of Section 13(b)

       Finally, Plaintiffs are mistaken in their argument that Section 13(b) should be interpreted

the way courts have held other federal statutes (i.e., Racketeer Influenced and Corrupt

Organizations Act (RICO) (18 U.S.C. § 1965(d)), the Securities Exchange Act (15 U.S.C. § 78aa),

and the Multiemployer Pension Plan Amendments Act (29 U.S.C. § 1451(d)) to permit nationwide

personal jurisdiction by virtue of service of process. Plaintiffs’ position is contrary to the law of

the Second Circuit as set forth in Daniel, where the court distinguished RICO and the Securities


                                                 21
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 29 of 30



Exchange Act (which both allow for personal jurisdiction based on nationwide service of process)

from the Clayton Act (which, like the FTC Act, contains a venue prerequisite for personal

jurisdiction)—and even included an entire section of the opinion entitled: “Expanded Venue and

Service of Process Provisions in Other Statutes Are of Little Assistance in Construing Section

12.” Daniel, 428 F.3d at 426-27 (emphasis added).

        The Second Circuit distinguished the Clayton Act provision from the venue provision in

the RICO statute in two ways. First, the court noted the “important structural difference” between

the two statutes: “[w]hile Section 12 of the Clayton Act discusses venue and service of process in

one sentence, RICO separates these provisions into non-sequential, lettered subsections.” Id. at

427. Second, the court relied on a “textual difference”: i.e., in the RICO statute, “the service of

process provision [applies] ‘in any action or proceeding under this chapter,’ that is, the chapter

dealing with racketeering.” Id. (emphasis in original). These same differences distinguish the

RICO provision and Section 13(b). Section 13(b) does not “separate[ out venue and service of

process] provisions into non-sequential, lettered subsections.” And while RICO’s service of

process provision applies broadly to any case brought under the RICO chapter of the U.S. Code,

Section 13(b)’s service of process allowance is limited to only cases brought under that “section”

of the statute.

        In distinguishing the Securities Exchange Act, the Second Circuit explained that “the venue

provision of the Exchange Act reaches even more broadly than Section 12 of the Clayton Act,

permitting suit ‘in the district where any act or transaction constituting the violation occurred.’”

Daniel, 428 F.3d at 426 (internal citations omitted). As such, there is no comparison between the

Securities Exchange Act and Section 13(b), which indisputably does not include this broad

language.



                                                22
         Case 1:17-cv-00124-LLS Document 65 Filed 06/18/19 Page 30 of 30



                                          CONCLUSION

       For the reasons set forth herein, and in the Individual Defendants’ prior briefing on the

Motion to Dismiss, Defendants Mark Underwood and Michael Beaman respectfully request that

the Court dismiss the Complaint against them with prejudice for lack of personal jurisdiction

pursuant to Fed. R. Civ. P. 12(b)(2) and failure to state a claim pursuant to Fed. R. Civ. P. 12(b)(6),

and grant any further relief the Court deems just and proper.


Dated: New York, New York
       June 18, 2019

                                                       COZEN O’CONNOR

                                                       __/s/ Michael de Leeuw_____________
                                                       Michael de Leeuw
                                                       Tamar S. Wise
                                                       Matthew Elkin
                                                       45 Broadway
                                                       New York, NY 10006
                                                       212-908-1331

                                                       -and-

                                                       JB Kelly (pro hac vice)
                                                       Bryan Mosca (pro hac vice)
                                                       1200 19th Street, NW
                                                       Washington, DC 20036

                                                       Attorneys for Defendants Mark Underwood
                                                       and Michael Beaman




                                                  23
